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 5 Facsimile: 310-282-2200
 6 Counsel for Defendant
   DREW DESBORDES
 7
 8                          UNITED STATES DISTRICT COURT
 9                        NORTHERN DISTRICT OF CALIFORNIA
10
11 ASHLEY PARHAM, JANE DOE, and                   Case No. 3:24-CV-07191-RFL
   JOHN DOE,
12                                                Assigned to Hon. Rita F. Lin
             Plaintiffs,
13                                                DECLARATION OF DAVID
       vs.                                        GROSSMAN
14
   SEAN COMBS, KRISTINA
15 KHORRAMN, SHANE PEARCE,
   RUBEN VALDEZ, JOHN                             Date:    June 17, 2025
16 PELLETIER, ODELL BECKHAM JR.,                  Time:    10:00 a.m.
   DREW DESBORDES, JACQUELYN                      Crtrm:   15
17 WRIGHT, HELENA HARRIS-SCOTT,
   MATIAS GONZALEZ, BRANDI
18 CUNNINGHAM, JANICE COMBS,                      Complaint Filed:          10/15/24
   KEITH LUCKS, and JOHN AND
19 JANE DOES 1-10,
20                  Defendants.
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                                                           DECLARATION OF DAVID GROSSMAN
     241141973.1
     244755-10003
                                                                            24-cv-07191-RFL
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 1                        DECLARATION OF DAIVD GROSSMAN
 2            I, David Grossman, declare:
 3            1.    I am an attorney at law, licensed to practice before all Courts of the
 4 State of California and before this Court. I am a partner at the law firm of Loeb &
 5 Loeb LLP (“Loeb”) and have been retained by Defendant Drew Desbordes in
 6 connection with the above-captioned action. I make this Declaration in support of
 7 Defendant’s Motion for Sanctions.
 8            2.    A true and correct copy of publicly available court records from case
 9 number MSD19-02677, an action brought by Shane Paul Pearce against Plaintiff
10 Ashley Nicole Parham in the Contra Costa County Superior Court seeking a
11 domestic violence restraining order, is attached as Exhibit 12.
12                                  Summary of Fees Claims
13            3.    As discussed below, Defendant seeks to recover the attorneys’ fees
14 incurred in connection with addressing the baseless claims asserted against him by
15 Plaintiffs. My firm represents Mr. Desbordes with respect to this matter. Attorney
16 time worth more than $50,000 in legal fees has already been devoted to preparing
17 this motion or otherwise related to evaluating, investigating and responding to the
18 claims and allegations in Plaintiffs’ Amended Complaint.
19                                  Loeb Attorneys and Staff
20            4.    I have served as the attorney primarily responsible for handling this
21 matter. I have been a litigator in Los Angeles for 25 years and am a partner and the
22 co-chair of the Litigation practice group at Loeb & Loeb LLP. I received a B.A.
23 from the State University of New York at Geneseo and a J.D. from the University of
24 California at Losa Angeles School of Law.
25            5.    My hourly rate is $1,175. This hourly rate is reasonable for an attorney
26 of my experience and credentials.
27
28
                                                             DECLARATION OF DAVID GROSSMAN
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 1            6.    I was assisted on this matter by Tyler Downing, an associate at Loeb &
 2 Loeb LLP with prior experience litigating complex commercial cases. Mr.
 3 Downing also served as a judicial law clerk for the Honorable Danielle J. Forrest on
 4 the United States Court of Appeals for the Ninth Circuit. Mr. Downing’s hourly rate
 5 is $735. Mr. Downing received a B.S. from Santa Clara University and a J.D. from
 6 the University of Chicago Law School. In 2021 he was admitted to practice in
 7 California. Mr. Downing’s billing rate is reasonable for an attorney with
 8 commensurate experience and credentials.
 9            7.    Other attorneys billing time to this matter included Monika Tashman, a
10 partner in the entertainment group with extensive experience counseling clients in
11 that industry, and Keane Barger, an associate in the litigation group with experience
12 litigating commercial and entertainment-related disputes. Ms. Tashman’s hourly
13 rate is $1,025 and Mr. Barger’s hourly rate is $895. These hourly rates are
14 reasonable for attorneys with commensurate experience.
15                                       Fees Incurred
16            8.    Through today’s date, attorneys at Loeb have devoted more than 65
17 hours related to Plaintiffs’ Amended Complaint, including time spent evaluating the
18 Amended Complaint, conducting legal research, and preparing this motion and the
19 associated materials. This work included conducting a detailed investigation of the
20 claims regarding Mr. Desbordes’s activities from seven years ago, investigating the
21 Plaintiffs’ claims against Mr. Desbordes, reaching out to Plaintiffs’ counsel, drafting
22 a letter requesting that the claims against Mr. Desbordes be withdrawn based on the
23 chronological and geographical impossibility of those claims, and drafting and
24 revising this motion and its supporting documents. This translates into more than
25 $50,000 in fees incurred by Mr. Desbordes. Additional time will be spent reviewing
26 Plaintiffs’ opposition, drafting a reply, and preparing for and attending any hearing.
27            9.    Time spent on this matter was reasonable and necessary. Preparing the
28 motion for sanctions required considerable investigation, legal and factual research,

                                                             DECLARATION OF DAVID GROSSMAN
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 1 and drafting, particularly given the seriousness of Plaintiffs’ allegations against Mr.
 2 Desbordes. No attorney performed duplicative work and the number of attorneys
 3 assigned to this matter was reasonable and necessary.
 4            10.   If Mr. Desbordes’s motion for sanctions is granted and the Court is
 5 inclined to award monetary sanctions, materials detailing the final amount of fees
 6 and costs incurred in relation to this motion, including those associated with
 7 reviewing any opposition, preparing a reply, and attending related hearings can be
 8 submitted.
 9            11.   On April 17, 2025, I directed that a copy of Mr. Desbordes’s Motion
10 for sanctions, my declaration, Mr. Desbordes’ declaration, and the associated
11 exhibits be served on Plaintiffs, through their counsel of record.
12            I declare under penalty of perjury under the laws of the United States of
13 America that the foregoing is true and correct.
14            Executed on April 17, 2025, at Los Angeles, California.
15
                                              /s/ David Grossman
16                                            David Grossman
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                                                              DECLARATION OF DAVID GROSSMAN
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                  EXHIBIT 12
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